      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 1 of 43 PageID #:1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ARTHUR J. GALLAGHER & CO.,                             )
                                                        ) Case No.:
                Plaintiff,                              )
                                                        )
         v.                                             ) DEMAND FOR JURY TRIAL
                                                        )
 ALLIANT INSURANCE SERVICES, INC.,                      )
                                                        )
                Defendant.                              )
                                                        )

                                           COMPLAINT

       Plaintiff Arthur J. Gallagher & Co. (“Gallagher”), for its Complaint against Defendant

Alliant Insurance Services, Inc. (“Alliant”), alleges as follows:

                                        INTRODUCTION

       1.      Alliant is presently engaged in a corporate raid of Gallagher’s Chicago office. On

July 11, 2022, three Gallagher employees who worked closely with one another on several

important accounts informed Gallagher that they were resigning. Each of these employees told

Gallagher they were resigning “effective immediately,” despite having signed an employment

agreement requiring them to provide 21-days’ written notice of their resignations.

       2.      Over the ensuing days, five additional Gallagher employees purported to resign to

join Alliant, “effective” the same day as their non-compliant notice to Gallagher.

       3.      These abrupt and coordinated resignations were orchestrated by Alliant as part of a

scheme to steal Gallagher’s clients before Gallagher could take contractually-protected steps to

protect its business interests, including its client relationships and confidential information.

       4.      In conjunction with the coordinated resignations, Alliant immediately began

contacting Gallagher clients that the resigning employees had serviced at Gallagher in order to
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 2 of 43 PageID #:2




induce those clients to terminate their relationships with Gallagher and move their business to

Alliant. Within minutes of the resignations, Alliant called a large Gallagher client that was serviced

by the resigning employees and told the client that it had to move its business to Alliant because

there was no one left at Gallagher to service its account. Alliant then continued to contact other

Gallagher clients, asserting the same false claim for the purpose of harming Gallagher and causing

reputational damage.

       5.       The raid that is currently underway is not an isolated incident. It is part of a

concerted course of action by Alliant (which it refers to, ironically, as its “leveraged hire strategy”)

designed and intended wrongfully to steal business from competitors rather than compete through

lawful means.

       6.       From at least 2015 through the present, Alliant and its co-conspirators devised and

executed a brazen series of schemes to steal confidential business information, employees, client

relationships, money, and other property from its competitors, including Gallagher.

       7.       Pursuant to its strategy, Alliant intentionally interferes with competitors’

contractual relationships by unlawfully inducing employees to leave their employment and join

Alliant in a manner that violates the employees’ contractual and fiduciary duties. Alliant

fraudulently uses these employees as double agents who draw paychecks from their current

employers—and with respect to employees of Gallagher, before and during their mandatory 21-

day notice period—while really working in the interests of Alliant. During this time period, the

departing employees agree with Alliant to remain employed with the competitor for a period of

time, and to operate under the fraudulent pretense, representation, and promise that they remain

loyal employees of the competitor.




                                                       2
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 3 of 43 PageID #:3




       8.      During this period, and after negotiating agreements to join Alliant, the departing

employees surreptitiously act for Alliant’s benefit while pretending to act for the competitor’s

benefit. Such actions include soliciting co-employees to leave for Alliant, without the requisite

notice, in violation of employment agreements prohibiting such conduct; collecting and misusing

trade secrets and confidential information for the benefit of Alliant; and developing promotional

materials designed to promote Alliant to clients they currently service on behalf of Alliant’s

competitor.

       9.      The resigning employees conspire with Alliant to remain employed by the

competitor until Alliant determines a coordinated time of departure that would inflict the largest

damage to the competitor and create the greatest benefits for Alliant.

       10.     At the instruction of Alliant, the resigning employees then violate their contractual

obligations to work with their current employer to transition work and client responsibilities to

others at the company during the notice period, and instead continue to work against their current

employer’s interests and for Alliant. The resigning employees and Alliant then, as planned,

unlawfully “leverage” competitors’ confidential business information and client relationships for

Alliant’s financial benefit.

       11.     When conducting these raids, Alliant engages in significant unlawful activity,

including but not limited to the following:

               a.      Obtaining and misappropriating property and money from competitors

(including but not limited to, fees and commissions from insurance policies sold to unlawfully

stolen customers, competitors’ customer and prospect lists, budgets, business plans, personnel

contact lists, trade secrets, and other information that the resigning employees agreed were the

property of their current employer and would neither be disclosed to nor used for the benefit of




                                                     3
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 4 of 43 PageID #:4




others) through the efforts of resigning employees who falsely pose as loyal employees under

fraudulent pretenses, representations, and promises;

               b.     Inducing the resigning employees to submit expense reports or other

requests for reimbursement to their employer under the fraudulent pretense, representation, and

promise that the expenses were in furtherance of employer-related business, when the expenses

actually furthered Alliant’s own business interests; and

               c.     Coordinating mass resignations of competitors’ employees, without notice,

to maximize the misappropriation of competitors’ property and money for receipt by Alliant.

       12.     Alliant also engages in a variety of activities designed to conceal this series of

unlawful conduct, including:

               a.     Instructing resigning employees not to communicate in writing regarding

their plans and actions to resign from the competitor;

               b.     Instructing resigning employees to delete emails that discussed their plans

and actions to resign their employment;

               c.     Wiping personal electronic devices used by resigning employees prior to

the effective date of their resignations, often in violation of agreements with their current

employers to allow the employer access to such electronic devices to protect the employer’s trade

secrets and confidential information;

               d.     Creating deceptive privilege logs in an effort to conceal evidence of the

steps taken in furtherance of Alliant’s unlawful conduct;

               e.     Creating sham documents, such as documents entitled “Prospective

Employee Departure Protocols,” to conceal the steps taken in furtherance of Alliant’s unlawful




                                                       4
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 5 of 43 PageID #:5




conduct, including the theft of trade secret, proprietary, and/or confidential information from the

competitor;

                 f.     Creating a sham “remediation program” designed to conceal the

misappropriation of the competitors’ confidential information by falsely representing that all such

information in the possession of departing employees had been returned to the competitor or

otherwise destroyed; and

                 g.     Inducing clients of the current employers to cooperate in the improper

disclosure to, and misuse of the employer’s confidential information by, Alliant and the resigning

employees, often in violation of non-disclosure agreements between the current employer and such

clients.

           13.   Alliant’s illegal “leveraged hire strategy” is overseen and implemented at the

highest levels of Alliant, including its Board of Directors, high-ranking executives, and its outside

counsel.

           14.   Alliant consistently disputes the reality of coordinated schemes. Yet in case after

case and jurisdiction after jurisdiction, employees of its competitors resign simultaneously, violate

contractual non-solicit provisions, violate contractual notice provisions, show up at an Alliant

office on the same day to immediately begin their formal employment with Alliant, and proceed

to misuse confidential information to solicit and thereafter service their former employer’s clients.

This is not coincidence. Alliant is the common thread (or as one court recently termed it, the

“puppet master”), driving this tortious conduct across the country.

           15.   Like many in the industry, Gallagher is a repeated victim of Alliant’s conduct.

Alliant has executed unlawful raids around the country aimed at Gallagher, including in California,

Florida, Massachusetts, Texas, and now in Illinois. To date, Alliant has stolen dozens of employees




                                                      5
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 6 of 43 PageID #:6




and more than 100 clients through these raids. Alliant will continue its unlawful conduct and will

continue to inflict irreparable harm upon Gallagher unless enjoined by this Court.

                                  JURISDICTION AND VENUE

        16.     This Court has subject matter jurisdiction over this lawsuit pursuant to 28 U.S.C. §

1332 because there is complete diversity of citizenship among the parties and the amount in

controversy exceeds $75,000.

        17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in this judicial district.

        18.     This Court has personal jurisdiction over Alliant because it has committed tortious

acts within the State of Illinois or has directed its tortious conduct toward the State of Illinois. The

claims stated herein all arise out of Alliant’s contacts with the State of Illinois.

                      THE PARTIES AND RELEVANT NON-PARTIES

I.      PLAINTIFF ARTHUR J. GALLAGHER & COMPANY

        19.     Gallagher is a Delaware corporation and maintains its principal place of business

at 2850 Golf Road, Rolling Meadows, Illinois 60008. Gallagher is an insurance brokerage and risk

management firm that also provides health and welfare consulting services, including employee

benefits insurance, retirement plans, and administrative services. Gallagher operates brokerage

offices and businesses across the United States.

II.     DEFENDANT ALLIANT INSURANCE SERVICES, INC.

        20.     Alliant is now a California corporation headquartered in Newport Beach,

California.1 Alliant is a competitor of Gallagher, which offers insurance brokerage and risk


1
 Until January 2020, Alliant was a Delaware corporation. However, after a privilege waiver in a
proceeding in the Delaware Chancery Court allowed the plaintiff and the court to peel back the
curtain on Alliant’s schemes, the court issued a scathing opinion laying bare Alliant’s unlawful
conduct, and Alliant fled the jurisdiction.


                                                       6
        Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 7 of 43 PageID #:7




management services. Alliant is registered to do business in Illinois, maintains offices in the

Northern District of Illinois, and transacts business affairs in the Northern District of Illinois.

III.     NON-DEFENDANT CO-CONSPIRATORS

         21.     Kristen Long (“Long”) is a former Gallagher employee. Long worked for Gallagher

in Chicago, Illinois from on or about November 13, 2014 until her resignation on or about July 11,

2022.

         22.     Jordan Laeyendecker (“Laeyendecker”) is a former Gallagher employee.

Laeyendecker worked for Gallagher in Chicago, Illinois from on or about January 18, 2016 until

her resignation on or about July 11, 2022.

         23.     Taylor Gunnells (“Gunnells”) is a former Gallagher employee. Gunnells worked

for Gallagher in Chicago, Illinois from on or about October 11, 2021 until her resignation on or

about July 11, 2022.2

         24.     Janet Schumacher (“Schumacher”) is a former Gallagher employee. Schumacher

worked for Gallagher in Chicago, Illinois from on or about December 17, 2014 until her

resignation on or about July 12, 2022.

         25.     Melissa Haggerty (“Haggerty”) is a former Gallagher employee. Haggerty worked

for Gallagher in Chicago, Illinois from on or about April 30, 2018 until her resignation on or about

July 12, 2022.

         26.     Rosario Zaragoza (“Zaragoza”) is a former Gallagher employee. Zaragoza worked

for Gallagher in Chicago, Illinois from on or about July 15, 2013 until her resignation on or about

July 12, 2022.




2
 Gunnells and Sara Arnold were physically located in other locations, but they reported in to the
Chicago office and worked remotely to support Gallagher’s team in Chicago.


                                                       7
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 8 of 43 PageID #:8




       27.       Sara Arnold (“Arnold”) is a former Gallagher employee. Arnold worked for

Gallagher in Chicago, Illinois from on or about May 17, 2021 until her resignation on or about

July 13, 2022.

       28.       Kelly Hogan (“Hogan”) is a former Gallagher employee. Hogan worked for

Gallagher in Chicago, Illinois from on or about January 12, 2015 until her resignation on or about

July 13, 2022.

       29.       Long, Laeyendecker, Gunnells, Schumacher, Haggerty, Zaragoza, Arnold, and

Hogan are collectively referred to as the “Resigning Employees.”

                      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

I.     BACKGROUND

       A.        Insurance Brokerages

       30.       The insurance brokerage industry is highly competitive. Gallagher and Alliant are

direct competitors.

       31.       Insurance brokers are intermediaries between their customers and insurers. The role

of a broker is to analyze the insurance market and match their customers with insurers capable of

meeting the customers’ insurance needs. Once a broker has identified appropriate insurers and

secured offers for insurance coverage, the broker helps the customer choose from competing

offers. This is a complex process—it is not simply a matter of choosing the lowest bid. A broker

must help the customer analyze factors such as the breadth of coverage, the risk management

services provided by the insurers, the insurer’s reputation, and the ability of an insurer to meet the

customer’s unique needs. A broker’s role is not limited to insurance placement. It also provides

customers risk of loss management as well as management of employer sponsored benefits

programs.




                                                      8
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 9 of 43 PageID #:9




       32.     Insurance brokerages typically generate revenue through brokerage fees and

commissions from insurers on policies sold. Commissions are typically based on a percentage of

the policy premium paid by the customer, and sometimes include contingent commissions based

on factors such as the profitability or volume of insurance the broker places with the insurer.

Additionally, brokers sometimes have arrangements where they receive a fee from the customer

instead of commissions on premiums.

       33.     Large insurance brokerages like Gallagher provide brokerage services to a wide

variety of businesses and organizations, including commercial, not-for-profit, and public entities.

Because customer-specific and industry-specific knowledge is required to provide effective

service to customers, insurance brokerage companies are often organized around industry groups.

Client-service teams are formed within these industry groups to service particular clients.

       34.     Employees of an insurance brokerage who are primarily responsible for developing

and maintaining client relationships are referred to in the industry as “Producers.” Producers

assume the lead, client-facing role and manage other members of their client-service teams.

Becoming a successful Producer takes years of experience as well as significant training and

information, knowledge and expertise provided to the Producer in confidence by the brokerage

firm. Accordingly, insurance brokerages typically invest substantial resources over a period of

years to develop successful Producers.

       B.      Gallagher Processes

       35.     Gallagher invests substantial resources into attracting, developing, maintaining,

and servicing its clients. Those investments benefit Gallagher’s employees and enable them to

effectively service a large and diverse client base.




                                                       9
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 10 of 43 PageID #:10




       36.     Gallagher invests substantial resources into its personnel. Gallagher often acquires

businesses at significant cost to enhance its ability to service clients. Gallagher also invests

substantial resources into its existing personnel to develop employees into successful Producers

and members of client-service teams.

       37.     Gallagher’s investment in its Producers and other members of its client-service

teams enables Gallagher’s employees to learn significant client-specific knowledge. Over a period

of years, Gallagher’s employees gain experience selling and placing insurance with specific

clients, handling claims for specific clients, and developing an understanding of a client’s current

insurance needs as well as its historical needs and preferences.

       38.     Gallagher has, over many years and at great effort and expense, developed,

accumulated, maintained, and refined trade secrets and other confidential information, including,

among other things, client-specific pricing, key client contacts, client-specific manuals, client-

specific marketing and servicing strategies, exposure and rating information in the pricing of

clients’ insurance/reinsurance products, buying trends, the composition and the unique risks

inherent in a clients’ operations, details concerning the structure, conditions, and extent of

insurance/reinsurance policies, policy expiration dates, premium amounts, commission rates, loss

history, timing of renewals, data relating to Gallagher’s unique marketing and servicing programs,

the criteria and formulae used by Gallagher in pricing its insurance and benefits, and compensation

information for Gallagher employees. (Gallagher’s confidential and proprietary trade secrets and

other confidential information, including the types listed here, are referred to herein as

“Confidential Information”).




                                                    10
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 11 of 43 PageID #:11




       39.     Gallagher shares this Confidential Information with its employees, provided they

agree that the information remains Gallagher’s property, will remain confidential, and will not be

misused by its employees for the benefit of another.

       40.     Gallagher’s Confidential Information enables it to maintain the client relationships

in which it has invested. If this information were obtained by a competitor, Gallagher’s investment

in a particular client relationship would be jeopardized. Misappropriation, theft, or use of

Gallagher’s Confidential Information would allow a competitor to unfairly identify, contact and

divert Gallagher’s clients, causing substantial loss of revenue to Gallagher and financial gain to

the competitor.

       41.     Gallagher carefully protects its Confidential Information. Among other safeguards,

Gallagher requires many of its employees to enter into employment agreements.

               i.     Employment Agreements with Gallagher

       42.     Each of the Resigning Employees signed employment agreements with Gallagher

(the “Employment Agreements”). See Exhibit A1-A8.

       43.     The Resigning Employees were at-will employees at Gallagher, but Gallagher had

a reasonable expectancy of entering into and continuing its business relationship with Resigning

Employees on a continued basis pursuant to the terms of the Employment Agreements.

       44.     Through the Employment Agreements, the Resigning Employees explicitly

acknowledged that Gallagher’s Confidential Information “constitutes valuable property” of

Gallagher. See id. at § 2B. The Resigning Employees promised to safeguard the Confidential

Information while employed by Gallagher and to not “divulge such Confidential Information or

make use of it for [their] own purposes or the purposes of another.” See id.




                                                    11
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 12 of 43 PageID #:12




       45.      The Employment Agreements also required the Resigning Employees to devote

their “full energies, abilities, attention and business time to the performance of [their] employment

obligations and responsibilities.” See id. at § 2A. The Employment Agreements required that the

Resigning Employees refrain from engaging “in any activity which conflicts or interferes with, or

in any way compromises” performance of their obligations and responsibilities. See id. The

Resigning Employees were also required to comply with all applicable Gallagher policies and

procedures, and to refrain from any activity that is not in the best interest of Gallagher. See id.

       46.      Additionally, the Employment Agreements contain restrictive covenants governing

an employee’s obligations once he or she leaves Gallagher’s employment. See id. at §§ 7-8. Those

covenants include confidentiality, customer non-solicitation, and employee non-solicitation

restrictions as well as other restrictions on post-employment conduct. See id.

       47.      The Resigning Employees agreed to continue to safeguard Gallagher’s Confidential

Information following the termination of their employment with Gallagher, including by

provisions that specifically stated:

             (1) after his employment with [Gallagher] is terminated, he will not directly or
             indirectly disclose, use or divulge Confidential Information that constitutes a
             trade secret of [Gallagher] or make use of it for his own purpose or the purpose
             of another; and

             (2) for a period of two (2) years following the termination of his employment
             with [Gallagher], he will not divulge Confidential Information that does not
             constitute a trade secret of [Gallagher] or make use of it for his own purpose or
             the purpose of another.

See id. at § 7(B)(1)-(2).

       48.      The Resigning Employees also acknowledged in the Employment Agreements that,

“an essential element of [Gallagher]’s business is the development and maintenance of personal

contacts and relationships with its accounts” and even if the clients ultimately developed a closer

relationship with the individual employee, “those accounts remain, at all times and for all purposes,


                                                      12
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 13 of 43 PageID #:13




accounts of [Gallagher].” See id. at § 2D. Accordingly, the Resigning Employees agreed that for

two years following the termination of their employment with Gallagher, they would not solicit,

service, or accept business from Gallagher accounts and prospective accounts with which they had

contact at Gallagher:

               [F]ollowing the termination of Employee’s employment with [Gallagher] for
               any reason whatsoever Employee will not, directly or indirectly, solicit,
               transfer, place, market, accept, aid, counsel or consult in the placement, renewal
               discontinuance or replacement of any insurance (including self-insurance) by,
               or handle self-insurance programs, insurance claims, risk management services,
               emergency or disaster prevention or management services, or other insurance
               administrative or service functions (“insurance services”) or provide employee
               benefit brokerage, consulting, or administrative services; in the area of group
               insurance, defined benefit and defined contribution pension plans, individual
               life, disability and capital accumulation products; investment advisory services,
               wealth management, or group retirement services; defined benefit and defined
               contribution pension services; human resources consulting services, including,
               without limitation, compensation consulting, compensation program design,
               compensation and benefits surveys, and on-site human resources management;
               and all other employee benefit areas [Gallagher] is involved with (“benefit
               services”), for: (x) any Account of [Gallagher] for which Employee performed
               any of the foregoing functions during any part of the two-year period
               immediately preceding such termination (referred to hereinafter as “Protected
               Accounts”), or (y) any Prospective Account of [Gallagher].

See id. at § 8A(1). This provision of the Employment Agreements is referred to herein as the “Non-

Compete Provision.”

        49.       Additionally, the Resigning Employees recognized that Gallagher employees are a

“valuable resource” of Gallagher and agreed not to “directly or indirectly solicit, induce, entice or

recruit” any Gallagher employee to leave their employment with Gallagher—both during the time

period in which the Resigning Employees were employed by Gallagher and for two years

following the termination of their employment. See id. at § 8E.

        50.       The Resigning Employees further agreed that, upon termination of employment

with Gallagher, they must return to Gallagher all of its property, including business records. See

id. at § 5C.


                                                        13
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 14 of 43 PageID #:14




       51.     The Resigning Employees also agreed to provide 21 days’ written notice prior to

terminating their employment with Gallagher (the “Notice Period”): “[T]he Employee may

terminate Employee’s employment at any time and for any reason upon twenty-one (21) days’

written notice (the ‘Notice Period’) by the party wishing to terminate the employment[.]” See id.

at § 5A.

       52.      During the Notice Period, the Resigning Employees promised to assist with the

orderly transition of client relationships to other employees, specifically agreeing to “cooperate

fully with [Gallagher] in all matters relating to the winding up of any pending work and/or the

orderly transfer to other [Gallagher] employees of the accounts for which he has been responsible.”

See id. at § 5C. The Employment Agreements further provided that Resigning Employees

“specifically covenant[] that during the Notice Period (regardless of whether or not active

employment responsibilities are continuing) his duties to [Gallagher], including Employee’s

fiduciary duty of loyalty, will continue in effect.” See id. The provision requiring 21 days’ written

notice prior terminating employment is referred to herein as the “Notice Provision.”

       53.     The Notice Period is intended to and does protect Gallagher’s Confidential

Information, property, and money. When departing employees comply with the Notice Provision,

Gallagher is typically successful in retaining the vast majority of client business affected by the

departures. Those odds drop drastically when the Notice Provision is breached. Alliant

intentionally interferes with the Employment Agreements and induces breaches for that reason.

       54.     The aforementioned types of restrictive covenants are common in the insurance

brokerage industry. Competitors in the industry are aware that employees typically have

employment agreements that contain these types of restrictive covenants. Indeed, Alliant requires




                                                     14
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 15 of 43 PageID #:15




nearly identical restrictive covenants in employment agreements signed by employees that it

poaches from competitors.

       55.     Alliant unquestionably knew that Gallagher’s employees agreed to these restrictive

covenants. Putting aside that it is common knowledge in the industry, as discussed below, by the

time Alliant began conspiring with the Resigning Employees, Alliant was already involved in

active litigation with Gallagher in which Gallagher’s employment agreements are at issue and had

been produced. Moreover, as part of its standard recruiting and onboarding practices, Alliant

specifically requests that candidates send Alliant copies of their restrictive covenants. Likewise,

the Employment Agreements themselves required the Resigning Employees to provide copies of

the Employment Agreements to Alliant. See id. at § 5E.

       56.     In their Employment Agreements, the Resigning Employees also expressly

acknowledged that breaches of their restrictive covenants would cause irreparable injury to

Gallagher and agreed to injunctive relief as an appropriate remedy:

       The Employee acknowledges that his services to [Gallagher] are of a unique
       character which gives them a special value to [Gallagher], the loss of which cannot
       reasonably or adequately be compensated in damages in an action at law should the
       Employee breach, or threaten to breach, any post-employment obligations under
       this Agreement. The Employee realizes that: (a) it would be difficult to measure
       precisely the damages to [Gallagher] from any breach by Employee of Sections 7
       and/or 8 of this Agreement; (b) injury to [Gallagher] from any such breach would
       be incalculable and irremediable; and (c) money damages would therefore be an
       inadequate remedy for any such breach. Accordingly, in addition to any other
       remedy [Gallagher] may have at law or in equity, [Gallagher] will be entitled to
       enforce this Agreement by obtaining a temporary restraining order and preliminary
       and permanent injunctive relief to restrain any such breach or further breach by
       Employee. Employee expressly waives the right to contest whether a breach of
       Section 7 or 8 of this Agreement would result in irreparable or permanent harm to
       [Gallagher]. In addition, Employee agrees that [Gallagher] may seek injunctive
       relief when and if it elects to do so and any delay in seeking injunctive relief will
       not prejudice or waive [Gallagher]’s right to do so. Employee expressly waives the
       right to assert that [Gallagher] is not entitled to injunctive relief because of any
       delay in seeking such relief. Employee agrees that he will be responsible for and
       pay [Gallager] its reasonable attorneys’ fees and other expenses and costs incurred



                                                    15
      Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 16 of 43 PageID #:16




         to enforce this Agreement if Gallagher is the prevailing party. Employee further
         agrees that if Employee breaches any covenant contained in Sections 7 and/or 8 of
         this Agreement, [Gallagher] will be entitled, in addition to all other legal or
         equitable remedies it may have, to offset and withhold against any such loss, cost,
         liability or expense any amount of any kind that may then be owing or payable by
         [Gallagher] to Employee.

See id. at § 6.

                  ii.    Gallagher’s Mobile Device Policy

         57.      In addition to their agreement to numerous restrictive covenants, the Resigning

Employees also agreed to a Mobile Device Policy (the “Mobile Device Agreement”) which

provides that Gallagher employees own their personal mobile devices and use them to conduct

business for Gallagher.3 See Exhibit B1-B7, at ¶ 1. Under the Mobile Device Agreement, the

Resigning Employees agree that it was their responsibility to “protect corporate data on my

personal mobile device” and that Gallagher “reserves the right to wipe all Gallagher data from the

mobile device in the event of employee or contractor separation from [Gallagher].” See id. at ¶¶ 1,

6.

II.      ALLIANT’S HISTORY AND PATTERN OF TORTIOUS CONDUCT

         A.       Alliant Develops a System to Tortiously “Raid” Competitors

         58.      Beginning in approximately 2015, Alliant devised and began to execute a

“leveraged hire strategy” that revolves around taking employees and clients from its competitors,

including Gallagher. Rather than providing superior service or unique products to attract clients,

Alliant decided it would engage in a series of schemes to recruit client-service teams and obtain

property and money from its competitors. Alliant’s litigation history and public documents

highlight Alliant’s complete disregard for fair competition and the law. Its schemes are calculated

and methodical. Each scheme follows a basic pattern with minor variations.


3
    Zaragoza did not agree to a Mobile Device Agreement.


                                                     16
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 17 of 43 PageID #:17




       59.     First, Alliant identifies one or two Producers from a competitor who are perceived

as important to client relationships and the generation of revenue. In initial discussions with

Producers, Alliant investigates the size of the “book of business” that the Producers manage for

the competitor. Alliant then offers the Producers significant bonuses and inflated compensation

packages—including equity in the company—to join Alliant based on the book of business that

the Producers manage for the competitor. These inflated compensation packages are contingent

upon the Producers violating their contractual obligations and other duties to their employer by

leaving without notice, poaching clients, soliciting colleagues to join Alliant in coordinated

departures, and participating in the other aspects of Alliant’s schemes as described herein. Alliant

understands that this “leveraged hire strategy” depends upon the violation of fiduciary and

contractual obligations owed by employees to Alliant’s competitors. Alliant not only encourages

and induces these employees to breach their duties, it assumes responsibility for those breaches by

agreeing to indemnify the Producers (in writing) against any claims that might arise from the

execution of this unlawful strategy.

       60.     Second, at Alliant’s direction, the Producers agree to withhold notice of their

decision to join Alliant, commonly in violation of contractual notice requirements

       61.     Third, after the Producers agree to join Alliant, but while they are still employed by

a competitor, the Producers operate under the materially false pretense that they remain a loyal

employee of the competitor, when in fact they act in Alliant’s interests.

       62.     Fourth, during the time period between the decision to join Alliant and leaving their

employment with an Alliant competitor, the Producers obtain property for Alliant from the

competitor, including client contacts, renewal dates, premium amounts, loss history, pricing, and

other Confidential Information.




                                                    17
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 18 of 43 PageID #:18




        63.     Fifth, during this same window of time—after the Producers agree to join Alliant,

but while they are still employed by an Alliant competitor—the Producers assist Alliant’s

recruitment of additional members of the competitor’s client-service teams, in violation of the

employees’ common law as well as contractual obligations and duties. Alliant can offer inflated

salaries and bonuses to lure away employees from its competitors in part because the Producers

often provide Alliant with confidential salary information for those other team members, in

violation of their contractual and fiduciary obligations.

        64.     Once recruited to join Alliant, the other members of the client-service teams operate

under the materially false pretense that they remain loyal employees of Alliant’s competitors.

During this time, the employees coordinate with one another and the Producers to obtain

confidential information from their employer for Alliant’s benefit. For example, the employees

regularly print confidential documents, forward confidential documents to personal email

accounts, and download confidential documents to USB devices in the days leading up to mass

resignations from an Alliant competitor.

        65.     Sixth, Alliant and the employees of its competitors coordinate with one another to

resign their employment abruptly and in coordinated fashion. Alliant dictates the timing of the

resignations. The coordinated mass resignations of client-service teams are critical to the execution

of Alliant’s schemes. These coordinated “raids” are Alliant’s hallmark, designed to minimize its

competitor’s opportunity to retain client relationships and revenue stream, while maximizing the

benefit of the raids to Alliant.

        66.     Seventh, Alliant attempts to conceal, and in some instances successfully conceals,

its unlawful conduct. Importantly, Alliant’s concealment efforts continue even after it is sued. The

lengths to which Alliant and its counsel will go to conceal Alliant’s frauds were laid bare in




                                                     18
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 19 of 43 PageID #:19




Mountain W. Series of Lockton Cos., LLC v. Alliant Ins. Servs., Inc., 2019 WL 2536104 (Del. Ch.

June 20, 2019) (“Lockton”), where a privilege waiver allowed the plaintiff and the Court to peel

back the curtain on Alliant’s scheme. The conduct revealed by the “privileged” communications

was so egregious that it led the court to conclude that the crime-fraud exception to privilege likely

applied. Id. at n.6.4

        67.     One of the methods that Alliant uses to conceal its unlawful conduct in litigation is

to wrongfully withhold documents under baseless claims of attorney-client privilege. As a matter

of standard practice, Alliant employees label emails as “privileged” even when the emails do not

pertain to legal advice—either sought or actually provided. Alliant instructs its employees to copy

attorneys on communications between and among non-lawyers when the substance of the

communications neither seeks nor conveys legal advice. Alliant then routinely withholds these

communications from discovery as “privileged.”

        68.     In an attempt to conceal the breach of contractual and fiduciary duties as well as

the theft of confidential information from Alliant’s competitors, Alliant’s attorneys also draft

affidavits for the former employees of the competitors which contain false representations that the

employees complied with their contractual and fiduciary duties. See, e.g., Lockton, 2019 WL

2536104, at *2, *20, & n.11-12 (describing Alliant’s affidavits as “lawyer-drafted submissions,”

repeatedly describing them as “problematic,” and ultimately finding that the “affidavits made




4
  Even after the Lockton litigation was resolved, Alliant fought vigorously to conceal the details
of its unlawful conduct and the significant role of its outside counsel. It sought to maintain the
details of the court record under seal and hidden behind overly broad and improper redactions—
an effort that was rejected by the Chancery Court. The court found that “Alliant has no right to
shield tortious strategies from public review,” and that “[i]t may be embarrassing for Alliant to
have the specifics of its conduct brought to light. But embarrassment is not grounds for confidential
treatment.” See Exhibit C, at ¶¶ 14(c), 19.


                                                     19
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 20 of 43 PageID #:20




expansive, absolutist representations about the absence of any solicitation efforts, which discovery

revealed to be inaccurate”).

       69.     Alliant also concocts sham protocols and processes, namely a “Prospective

Employee Departure Protocol” (“PEDP”) and a “remediation program” to deceive and attempt to

deceive competitors, including Gallagher, and to conceal Alliant’s unlawful conduct.

       70.     The PEDP is designed to deceive competitors by making it appear that Alliant

instructed former employees of competitors to abide by contractual and other obligations to the

competitors. In fact, Alliant’s unlawful schemes depend on violations of contractual and other

obligations that are owed to its competitors, and Alliant anticipates, encourages, and rewards the

violations. Repeated, flagrant violations of the PEDP by former employees of Alliant’s

competitors are not met with any admonishment or discipline from Alliant. To the contrary, the

employees are rewarded and indemnified by Alliant. The PEDP is consistently utilized as a tool in

litigation to defend against claims from Alliant’s competitors.

       71.     The sham “remediation program” was designed to conceal the use of confidential

information that was stolen from Alliant’s competitors for use at Alliant. Through the façade of

the “remediation program,” Alliant insists that all misappropriated documents have been identified

and returned to its competitors or destroyed. In reality, of course, those documents are stolen and

utilized by Alliant to solicit clients—thereby damaging competitors by causing loss of revenue—

well before the identified documents are purportedly “remediated.” Furthermore, “remediating” a

document does nothing when that document and its contents have already been printed, copied, or

otherwise disseminated to Alliant personnel.

       72.     Alliant also uses the façade of the “remediation program” to resist attempts by

competitors to discover for themselves what documents were actually taken and utilized by former




                                                    20
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 21 of 43 PageID #:21




employees. For example, Alliant routinely refuses to comply with requests for independent

analysis of the departing employees’ personal devices, claiming that such analysis is unnecessary

and would violate a purported “privilege” covering the remediation process. Alliant takes this

baseless position even where the poached employees have signed agreements permitting its

targeted competitors to examine the personal devices that are the subject of the “remediation,” as

is the case here.

        73.     Alliant, including through its outside counsel, directs those involved in the

unlawful schemes to avoid creating or retaining evidence of unlawful conduct, including by urging

Alliant employees and former employees of Alliant’s competitors not to communicate about their

breaches of contractual and fiduciary duties in writing. For example, in Lockton, the court found

that Alliant executive Peter Arkley (“Arkley”) coordinated one of the Alliant’s hallmark “raids”

by instructing 20 Lockton employees to resign at the same time and without notice, in violation of

the employees’ notice requirements. Lockton, 2019 WL 2536104, at *7. The court further found

that “[t]o conceal this instruction, Alliant’s outside counsel told Arkley to pass it along verbally

rather than putting it in writing.” Id. The court’s finding was well-founded, and the direction from

Alliant’s outside counsel was stunning. It made clear that the instruction to the resigning Lockton

employees amounted to a breach of their notice provisions, and thus should not be put in writing:

“[W]e are no longer instructing employees in writing to resign without notice because they may

have notice provisions – Alliant will instead instruct them verbally.”

        74.     Alliant and its counsel have even directed the destruction of documents and

electronic images to conceal unlawful conduct. See, e.g., Lockton, 2019 WL 2536104, at *20

(“Alliant also took independently wrongful steps such as directing [a departing Producer] to

destroy evidence….”). The Lockton court found that “Alliant engaged in extensive efforts to avoid




                                                    21
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 22 of 43 PageID #:22




creating an evidentiary record of its activities, which cross the line on important occasions into the

actual destruction of evidence.” See id. at *17. In another stunning statement by a member of the

bar, Alliant’s outside counsel called the deletion of incriminating email evidence “a good start.”

       75.     Moreover, to conceal the theft of confidential information, property, and money,

the employees of Alliant’s competitors—prior to their resignation—will commonly send

confidential information to the competitor’s clients with the understanding that the clients will,

upon request, send the confidential information back to them once they have joined Alliant, in

some instances in violation of non-disclosure agreements prohibiting such actions. The poached

employees then misuse that information to solicit and service those clients for the benefit of

Alliant, either directly or indirectly through other Alliant employees.

B.     Alliant’s Unlawful Conduct Continues Even After a Multitude of Lawsuits

       76.     As Alliant anticipated, a multitude of claims arose from the execution of Alliant’s

unlawful strategy. The Delaware Chancery Court recently noted that Alliant is facing at least forty-

one (41) lawsuits in at least twenty-five (25) jurisdictions in which competitors have asserted

similar claims relating to Alliant’s strategy. See Exhibit C, at ¶ 20(a). Lawsuits against Alliant in

recent years include the following, among many others: USI, Inc. v. Call, No. BC678226 (Cal.

Super. Ct. Oct. 2, 2017); Smith Bros. Ins. LLC v. Ellenberg-Gray, No. CV-XX-XXXXXXX-S (Conn.

Super. Ct. Dec. 7, 2015); Mountain W. Series of Lockton Cos., LLC v. Alliant Ins. Servs., Inc.,

2019-0226-JTL (Del. Ch. Mar. 22, 2019); NFP Corp. v. Ayala, 2018-0688 (Del. Ch. Sept. 18,

2018); Wells Fargo Ins. Servs. USA, Inc. v. Alliant Ins. Servs., Inc., No. 2017-0540 (Del. Ch. July

26, 2017); Ascension Ins. Holdings, LLC v. Underwood, No. 9897-VCG, 2015 WL 356002 (Del.

Ch. Jan 28, 2015); Willis Ins. Servs. of Ga. v. Alliant Ins. Servs., Inc., No. 8:18-cv-1826-T-23AAS,

2018 WL 3586374 (M.D. Fla. Aug. 21, 2018); Wells Fargo Ins. Servs. USA, Inc. v. Laman, No.




                                                     22
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 23 of 43 PageID #:23




502016CA009049XXXXMB (Fla. Cir. Ct. April 10, 2017); Willis of Fla. v. Powell, No. 2016-

CA-007824, 2017 Fla. Cir. LEXIS 6713 (Fla. Cir. Ct. Jan. 25, 2017); Wells Fargo v. Moreno, No.

15-25316CA01 (Fla. Cir. Ct. May 11, 2015); Willis Ins. Servs. of Ga. v. Alliant Ins. Servs., Inc.,

No. 2018cv308132 (Ga. Super. Ct. July 23, 2018); Aon Risk Services Co. v. Alliant Ins. Servs.,

Inc., et al., No. 1:19-cv-07312 (N.D. Ill. Nov. 5, 2019); Aon PLC v. Heffernen, No. 16-cv-1924

(N.D. Ill. Nov. 20, 2017); Ralph Weiner & Assocs., LLC v. Hancock, No. 2017-CH-06618 (Ill. Cir.

Ct. May 9, 2017); Willis of Ill. Inc. v. Chapman, No. 2014-CH-15748 (Ill. Cir. Ct. Nov. 25, 2014);

Willis of Mass. v. Michael G. Feinberg & Alliant Ins. Servs., 2016 Mass. Super. LEXIS 1047,

1684CV01497 (Mass. Super. Ct. Oct. 3, 2016); Arthur J. Gallagher & Co. v. Long, No.

1:17cv12313 (D. Mass. Dec. 13, 2017); Willis of Minn. v. Alliant Ins. Servs., Inc., No. 27-cv-18-

11684 (Minn. Dist. Ct. July 20, 2018); The Hays Group, Inc. v. Peters, et al., No. 0:16-cv-2352

(D. Minn. July 29, 2016); Regions Insurance, Inc. v. Alliant Ins. Servs., Inc., 13-cv-00667 (S.D.

Miss. Oct. 25, 2013); Willis Towers Watson Southeast, Inc. v. Alliant Ins. Servs., Inc., 21-cv-00417

(W.D.N.C. Aug. 12, 2021); Corp. Synergies Grp., LLC v. Andrews, No. 2:18cv13381 (D.N.J. Aug.

30, 2018); Cook Maran & Assocs., Inc. v. Scrocca & Alliant Ins. Servs., Inc., No. C-209-17 (N.J.

Super. Ct., Sept. 13, 2017); AssuredPartners Northeast, LLC v. Stone and Alliant Ins. Servs., Inc.,

20-cv-05564 (E.D.N.Y Nov. 16, 2020); Marsh USA, Inc. v. Moody, No. 17-651325 (N.Y. Sup. Ct.

Aug. 7, 2018); Marsh USA Inc. v. Alliant Ins. Servs. Inc., No. 15-651994, 26 N.Y.S.3d 725 (N.Y.

Sup. Ct. Oct. 19, 2015); Aon Corp. v. Alliant Ins. Servs. Inc., No. 14-650700, 2014 WL 2990393

(N.Y. Sup. Ct. June 26, 2014); Aon Risk Servs. v. Cusack, No. 651673/2011 (N.Y. Sup. Ct. 2011);

Graham Co. v. Harper, No. 170202712 (Pa. Ct. Common Pl. Feb. 9, 2017); Huntington

Bancshares Incorporated v. Burke, 20-cv-01159 (W.D. Pa. Aug. 3, 2020); Anco Ins. Servs. of

Houston v. Barnard, No. 2011-29054, 2012 WL 2335530 (Tex. Dist. Ct. Feb. 22, 2012); Alliant




                                                    23
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 24 of 43 PageID #:24




Ins. Servs. Inc. v. Wells Fargo Ins. Servs. USA Inc., No. 2017-56259 (Tex. Dist. Ct. Aug. 23, 2017);

Arthur J. Gallagher Risk Mgmt. Servs. Inc. v. Allen, No. 08-08922-I (Tex. Dist. Ct. Dec. 16, 2008);

Assured Partners of Washington, LLC v. Acarregui, 2:20-cv-00290 (W.D. Wash. Feb. 24, 2020).

       77.      Courts, including this Court, have enjoined Alliant’s unlawful behavior in at least

the following matters: Anco Ins. Servs. of Houston v. Barnard, No. 2011-29054, 2012 WL

2335530 (Tex. Dist. Ct. Feb. 22, 2012); Aon Corp. v. Alliant Ins. Servs., No. 650700/2014 (N.Y.

Sup. Ct. Mar. 04. 2014); Aon PLC et al. v. Heffernan, et al., No. 1:16-cv-01924 (N.D. Ill. Feb. 3,

2016); Aon Risk Servs. Ne. v. Cusack et al., No. 65163/2011 (N.Y. Sup. Ct. Jun. 15, 2011);

Huntington Bancshares Inc. et al. v. Burke et al., No. 2:20-cv-01159 (W.D. Pa. Aug. 3, 2020);

Mountain W. Series of Lockton Co. v. Alliant Ins. Servs., No. 2019-0226-JTL (Del. Ch. June 13,

2019); USI Ins. Servs. Nat., Inc. v. Grassi, et al., 2017-CA-009742-O (Ninth Judi. Cir. for Orange

Cty., Fla. Nov. 3, 2017).

       78.     Alliant’s unlawful conduct is ongoing and is likely to continue despite numerous

lawsuits, injunctions, and even sanctions orders, because Alliant has determined that the costs

associated with defending and resolving these lawsuits are lower and the benefits to Alliant’s

revenues and bottom line are greater than could be achieved through lawful competition. Alliant

tracks and reports this economic analysis of the benefits of its illegal “leveraged hire strategy” at

the highest levels of the company, including the efficiency with which competitors’ client

relationships are improperly transitioned to Alliant, in regular reports to its Board of Directors,

which continues to orchestrate and approve the implementation of these schemes.

       C.      Alliant’s History of Tortious Conduct Toward Gallagher




                                                     24
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 25 of 43 PageID #:25




       79.     Despite the overwhelming number of lawsuits filed against Alliant for wrongfully

infiltrating its competitors’ businesses, Alliant has, in recent years, directed its tortious conduct

toward Gallagher in California, Florida, Massachusetts, and Texas.

       80.     Alliant has actively recruited former Gallagher employees and conspired with them

to illicitly solicit other Gallagher employees and clients and to misappropriate Confidential

Information for Alliant’s benefit—during and after the former Gallagher employees resigned their

employment with Gallagher.

       81.     The former Gallagher employees were bound by restrictive covenants in the event

they sought to terminate their employment with Gallagher, and they were also contractually

obligated to protect and not disclose Gallagher’s Confidential Information or misuse it for the

benefit of others.

       82.     Despite these contractual restrictions, Alliant conspired with the former Gallagher

employees to attack Gallagher’s business to the significant benefit of Alliant. Alliant has stolen

employees, customers, revenue, and Confidential Information, and it used present and former

Gallagher employees to accomplish its unlawful goal. Alliant has effectuated its “leveraged hire

strategy” consistent with its past unlawful conduct directed at competitors, and Gallagher has

unfortunately become a primary target.

       83.     Litigation commenced by Gallagher against Alliant is ongoing in California,

Florida, Massachusetts, and Texas.

       D.      Alliant’s Raid on Gallagher’s Chicago Office

       84.     Alliant has now raided Gallagher’s Chicago office and it has done so by offering

inflated compensation to the Resigning Employees—consistent with its overall scheme. After

Gallagher prepared a generous compensation package to retain Hogan, she told a Risk Program




                                                     25
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 26 of 43 PageID #:26




Administrator at Gallagher that the retention offer was “not even close” to what Alliant offered.

Moreover, in her departure email, Haggerty explained that “Alliant made me an offer I couldn’t

refuse and I accepted.” On information and belief, Alliant’s offers to the Resigning Employees

also included indemnification agreements designed to induce the Resigning Employees to breach

their contractual and fiduciary obligations.

                   i. Alliant Coordinated the Resignations of Gallagher’s Employees

       85.     Alliant began its recruitment efforts as early as January of 2022. On information

and belief, the Resigning Employees agreed to join Alliant shortly thereafter. Yet, the Resigning

Employees pretended to remain loyal to Gallagher for months, and executed their departures in

July of 2022 in a remarkably organized and methodical manner—a strategic move that is lifted

directly from Alliant’s playbook.

       86.     Long, a producer with a substantial book of business, purported to resign from

Gallagher “effectively immediately.” Just hours later—and within minutes of one another—

Gunnells and Laeyendecker, both of whom worked on Long’s team at Gallagher, also submitted

resignations “effective immediately.” The other Resigning Employees resigned “effective” the

same day as their notice to Gallagher:

       No.    Name                         Date         Time       Departure Date

         1    Kristen Long                 7/11/2022    11:19 AM   “effective immediately”

         2    Jordan Laeyendecker          7/11/2022    5:11 PM    “effective immediately”

         3    Taylor Gunnells              7/11/2022    5:15 PM    “effective immediately”

         4    Janet Schumacher             7/12/2022    3:00 PM    “effective immediately”


         5    Melissa Haggerty             7/12/2022    4:57 PM    “effective immediately”




                                                   26
       Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 27 of 43 PageID #:27




           6    Rosario Zaragoza          7/12/2022      7:02 PM    “effective July 12, 2022”


           7    Sara Arnold               7/13/2022      10:46 AM   “effective 7/13/2022”


           8    Kelly Hogan               7/13/2022      unknown5   “effective immediately”


         87.     On information and belief, Alliant directed these individuals to resign

simultaneously and without notice in order to minimize Gallagher’s ability to retain the clients

serviced by those employees and maximize the illicit business benefits to Alliant. Alliant directed

the Resigning Employees to resign in this manner despite having knowledge of the Resigning

Employees’ obligations under the Notice Provision.

         88.     Upon receiving the notices of resignation, Gallagher, through counsel, promptly

sent a letter to each of the Resigning Employees by email—some of which were sent with a copy

to Alliant’s Chief Legal Officer—to (i) advise the Resigning Employees of their ongoing

obligations to Gallagher during their respective Notice Periods (pursuant to the Notice Provision)

(ii) remind them of their post-employment obligations (the restrictive covenants), and (iii) demand

that they provide Gallagher their mobile devices (pursuant to the Mobile Device Agreement). The

letters that were sent to each of the Resigning Employees are referred to herein as the “July

Correspondence.”

         89.     Despite Gallagher’s demands, the Resigning Employees refused to comply with

their contractual obligations and fiduciary duties. On information and belief, their refusal was

induced by Alliant, and indeed demanded by Alliant as a condition of their employment. On

information and belief, Alliant incentivized and rewarded the Resigning Employees’ unlawful



5
    The precise time of resignation is unknown because Hogan resigned verbally.


                                                    27
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 28 of 43 PageID #:28




conduct by providing inflated compensation packages and promising to indemnify them against

any claims by Gallagher. These actions are consistent with Alliant’s “leveraged hire strategy”

employed across the country.

       90.     Flagrantly disregarding their contractual obligations and fiduciary duties, and at

Alliant’s direction, the Resigning Employees did not provide their mobile devices to Gallagher.

On information and belief, Alliant instructed the Resigning Employees to provide personal

electronic devices to Alliant’s consultant for the sham “remediation program” instead of providing

the mobile devices to Gallagher. The Resigning Employees did not continue to act in Gallagher’s

best interests, despite Gallagher obligation to continue to pay employees per the terms of their

Employment Agreements. The Resigning Employees have refused to assist Gallagher with the

transitioning of client accounts. To the contrary, on information and belief, they coordinated with

Alliant in an effort to steal those accounts from Gallagher.

               ii.       Alliant Has Contacted and Made False Statements to Gallagher’s Clients

       91.     Simultaneously with these coordinated and abrupt resignations, Brian Cooper, the

head of Gallagher’s national construction group, received a phone call from one of the largest

construction clients serviced by Long (“Client A”). Client A reported that it received a call from

Alliant Executive Vice President Matthew Walsh (“Walsh”),6 informing the client that Long had

joined Alliant. Walsh further stated to the client that, given the resignations of Long and her

teammates, Client A should move its business to Alliant because there is nobody left at Gallagher

to handle the account.




6
  Walsh has previously been a named defendant in connection with Alliant’s wrongful schemes,
and in fact, has been enjoined by this Court, along with Alliant. See Aon Risk Services Cos., Inc.
v. Alliant Ins. Servs., Inc., 415 F.Supp.3d 843 (N.D. Ill. 2019).



                                                    28
       Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 29 of 43 PageID #:29




          92.     On information and belief, Walsh contacted Client A only after agreeing with the

Resigning Employees that he would do so and receiving assistance (and being provided access to

Gallagher’s Confidential Information) from the Resigning Employees. In essence, Walsh acted as

an intermediary or “strawman” between the Resigning Employees and Client A in order to create

the façade of the Resigning Employees’ compliance with their Non-Compete provisions – despite

the fact that those provisions prohibit soliciting Gallagher’s clients “directly or indirectly.”

          93.     Client A is an “Account of the Company” of Gallagher, within the definition

provided in the Employment Agreements. See Exhibit A1-A8, at § 8A(2). The Resigning

Employees serviced Client A within the two-year period immediately preceding their resignations

from Gallagher.

          94.     Alliant has also contacted other Gallagher clients to raise the unjustifiable claim

that there is nobody left at Gallagher to handle their accounts.

          95.     Without Court intervention, Alliant’s illegal conduct will continue.

                  iii.   While Posing as Loyal Gallagher Employees, the Resigning Employees
                         Agreed to Act, and Did Act, for Alliant’s Benefit

          96.     Even without the benefit of discovery, Gallagher’s investigation to date has

revealed that the Resigning Employees—conspiring with Alliant—secreted Gallagher confidential

information7 and engaged in other wrongful conduct in preparation for their resignations. For

example, in early 2022, Long requested a Gallagher report on regional accounts for construction

clients. On March 31, 2022, Long was provided by email a report that contains detailed and highly

sensitive information about every construction client in the Midwest region as well as revenue

opportunity. On April 1, 2022, Long emailed the report to Hogan, explaining that “[w]e need to




7
    See infra Section II.D.iv.


                                                      29
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 30 of 43 PageID #:30




look for opportunities for CIP’s and SDI on these lists.” This information was gathered in

anticipation of a planned move to Alliant and was used for the benefit of Alliant.

        97.     On June 4, 2022, Gunnells emailed—to her personal email account—an “Insurance

Submission” template that belongs to Gallagher and is used for its clients. Gunnells did not receive

authorization from Gallagher to send this document to her personal email account. This

information was gathered in anticipation of a planned move to Alliant and, on information and

belief, was used for the benefit of Alliant. This is just one example whereby certain of the

Resigning Employees sent confidential information to their personal email accounts in the months

leading up to their coordinated and improper resignations (with other examples identified below).

        98.     In anticipation of a move to Alliant and for the benefit of Alliant, Long extended

the insurance renewal date on one of her largest clients (“Client B”) without obtaining any

compensation for Gallagher. As a result, Client B did not renew its policy in June (when Long was

a Gallagher employee and Gallagher would have obtained the revenue for the renewal), and it will

instead renew its policy in September (at which time Client B will have been subject to months of

solicitation efforts by Long and Alliant, and quite possibly will have moved its business to Alliant,

resulting in Alliant receiving revenue that rightly belonged to Gallagher). Long’s explanation for

delaying the renewal—on June 24, 2022, right before her resignation—was nonsensical: “This

account is going through so much transition right now of ownership and their financials are terrible

and they will be signing a fee agreement when they renew but I just couldn’t charge them $200,000

right now not knowing what size company is coming out of the sale. So I guess it’s a freebie but

if it’s a 91 I’m not sure how it’s free because they still pay us this year.”




                                                      30
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 31 of 43 PageID #:31




       99.      Gallagher has a reasonable expectancy of continuing its business relationship with

its clients, who renew insurance coverage with Gallagher at various times throughout their

relationship.

       100.     The situation with Client B demonstrates the continuing nature of Gallagher’s harm

should it not receive injunctive relief. If Alliant is not enjoined from continuing to tortiously

interfere with Gallagher’s contracts and business relations, Alliant will have weeks to solicit Client

B and other Gallagher accounts, all while the Resigning Employees continue to violate their

contractual obligation to help Gallagher transition Client B’s business to other Gallagher

employees.

                iv.    While Posing as Loyal Gallagher Employees, the Resigning Employees
                       Misappropriated Gallagher’s Confidential Information at Alliant’s
                       Direction and for Alliant’s Benefit

       101.     In addition to contacting clients, on information and belief, Alliant induced the

Resigning Employees to misappropriate Gallagher’s Confidential Information for Alliant’s

benefit—another page out of its playbook.

       102.     As stated previously, Alliant began recruiting the Resigning Employees at least as

early as January 2022. This timeline is typical for Alliant – it spends months recruiting and

preparing large groups of employees to resign in unison and poach competitors’ clients.

       103.     In the months following the onset of Alliant’s recruiting efforts, the Resigning

Employees sent an alarming number of emails containing Gallagher’s information to their personal

email accounts. The information that was sent to personal email accounts is sensitive and

proprietary, and it constitutes Gallagher’s Confidential Information.




                                                     31
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 32 of 43 PageID #:32




       104.    There is no legitimate reason for the Resigning Employees to send Gallagher’s

Confidential Information to their personal email accounts, and Gallagher certainly did not (and

would not) give them such authorization.

       105.    The Confidential Information that the Resigning Employees sent to their personal

email accounts is precisely the kind of information that Gallagher seeks to protect, and it has

extreme value to Gallagher and would afford a competitor an unquestionable and unfair

competitive advantage in the marketplace—with respect to both employees and clients.

       106.    For example, on May 31, 2022, Long emailed herself a summary sheet for her 2022

compensation plan, which included her compensation details, including confidential revenue

information related to certain clients. Critically, this document also contained the compensation

information of Laeyendecker, Gunnells, and Haggerty. As Gallagher has discovered in other

litigation, an important part of Alliant’s larger scheme is to induce employees to share the

confidential compensation information of their colleagues. It allows Alliant to more easily poach

the employees by offering inflated compensation packages that provide a substantial raise from

the employees’ current salaries. On information and belief, Long emailed this information to her

personal email account at Alliant’s direction and for Alliant’s benefit.

       107.    That was not the first time since the onset of Alliant’s recruitment that Long

emailed herself sensitive compensation information about her team at Gallagher. Indeed, on

February 8, 2022, Long emailed herself compensation information for her team, including total

team compensation and bonus information.

       108.    The data that Long emailed herself also included a highly confidential “Client

Revenue Report,” which listed every Gallagher client serviced by Long and the associated revenue

Gallagher generated from that client. In the hands of Alliant, this document provides a roadmap




                                                    32
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 33 of 43 PageID #:33




for its unlawful solicitation efforts. The timing of this email makes clear that Long was preparing

to move her team to Alliant months before she left Gallagher and while she was contractually

required to acts in Gallagher’s, not Alliant’s, best interests.

        109.    The Confidential Information that the Resigning Employees sent to their personal

email addresses was not limited to compensation details. Indeed, the Resigning Employees sent

themselves some of the most sensitive Confidential Information, which would give a competitor a

significant competitive advantage over Gallagher.

        110.    On February 9, 2022, the day after Long emailed herself highly sensitive

compensation information, Gunnells emailed herself a “Producer Renewal Timeline,” which

detailed Gallagher’s highly sensitive and proprietary methodology and processes for retaining the

business of existing clients.

        111.    Gunnells did not stop there. On March 30, 2022, Gunnells emailed herself a highly

confidential compilation of Gallagher construction accounts, which detailed descriptions of

insurance coverage, as well as policy effective and expiration dates. This type of compilation is a

closely-guarded trade secret that would give a competitor a significant unfair advantage over

Gallagher if disclosed. Policy expiration dates are a particularly important piece of confidential

information in the insurance industry, because a competitor’s knowledge of those dates allows a

competitor to solicit the client at an opportune time, when the client would have a higher level of

interest in hearing from new brokers.

        112.    On February 23, 2022, Hogan emailed herself a confidential PowerPoint containing

information on Gallagher’s growth strategy for 2022, including lists of Gallagher’s “Top 2022

Prospects.” The PowerPoint also includes a “3 Year Plan” for Gallagher’s construction team. The

PowerPoint details highly sensitive and proprietary strategies. Armed with this information,




                                                      33
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 34 of 43 PageID #:34




Alliant can unfairly compete against Gallagher. There is no justification for sending a document

with “Prospects” and a “3 Year Plan” to a personal email address.

       113.    If that was not enough, Gallagher’s “CORE 360” proposals were among other

Confidential Information that was sent to personal email accounts. These are among Gallagher’s

most sensitive documents. Each proposal reflects Gallagher’s approach, information, data,

analytics, claim information, and pricing information, among other things. The proposals

ultimately make a recommendation for coverage to the client, informed not only by the data, but

also by Gallagher’s industry knowledge and its knowledge of the client’s particular history and

future needs. Gallagher invests a significant amount of time, effort, expense, and expertise into

preparing the proposals, which are one of the most important ways in which Gallagher

demonstrates value to clients and potential clients. Notwithstanding the highly sensitive nature of

these materials, numerous Resigning Employees emailed them to their personal email accounts—

with respect to multiple clients—on the following dates: Gunnells on May 24, 2022, Long on April

6, 2022, Laeyendecker on March 16, 2022, Long on March 14, 2022, Long on March 10, 2022,

Laeyendecker to Long’s personal email on February 10, 2022, Long on February 9, 2022, and

Hogan on February 1, 2022. It would be bad enough for one of the Resigning Employees to

misappropriate this highly sensitive information on a single occasion with respect to a single client,

but here, Gunnells, Laeyendecker, Long, and Hogan all did so, on multiple occasions and with

respect to multiple clients.

       114.    The aforementioned Confidential Information is only a portion of the Confidential

Information that was misappropriated by the Resigning Employees in the months leading up to

their resignations from Gallagher. Indeed, on May 18, 2022, Long emailed herself about a detailed

insurance policy recommendation prepared for a client. On March 7, 2022, Long emailed herself




                                                     34
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 35 of 43 PageID #:35




policy information for a client, including premiums and deductibles. On March 6, 2022, Long

emailed herself notes from a client meeting, reflecting strategies and planning for a client’s

renewals. On March 4, 2022, Long emailed herself policy information, which includes claims

amounts for a client and other client-specific data.

       115.     These are just some illustrative examples of documents and content that the

Resigning Employees improperly sent to their personal email accounts while employed at

Gallagher.

       116.     The Resigning Employees’ conduct mirrors that of Alliant’s co-conspirators across

the country. In numerous raids of Gallagher and other competitors, the misappropriation of

confidential information begins after the departing employees agree to join Alliant and continues

up until the day they execute their coordinated resignations at Alliant’s direction. Given the

similarity of the Resigning Employees’ conduct in this case, the only logical inference is that the

Resigning Employees forwarded the aforementioned Confidential Information with Alliant’s

encouragement and for Alliant’s benefit.

                v.     Long Deleted Thousands of Emails Immediately Before Resigning

       117.     Since Long’s abrupt resignation, Gallagher has discovered that Long deleted

thousands of emails immediately before her resignation—including on the day she resigned from

Gallagher—presumably to conceal her activity during the time between when Alliant first solicited

her and before she resigned “effective immediately” in coordinated fashion with the other

Resigning Employees. On information and belief, consistent with Alliant’s practice of destroying

evidence and attempting to conceal misconduct, Alliant directed and/or encouraged Long to delete

these emails.




                                                       35
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 36 of 43 PageID #:36




          118.   Gallagher’s investigation is continuing with respect to Long’s suspect deletion of

emails.

                               INJUNCTIVE RELIEF IS NEEDED

          119.   As detailed above, Alliant and its co-conspirators devised and executed a brazen

series of schemes aimed at harming competitors across the country, including Gallagher. The

number of lawsuits against Alliant is astonishing, and numerous courts, including this Court, have

enjoined Alliant due to its unlawful conduct. Alliant’s strategy is no secret—it targets a competitor

and strikes in a coordinated fashion with its co-conspirators in an effort to steal as much business

as possible before a court intervenes.

          120.   Alliant and its co-conspirators have determined that the return on investment from

this unlawful conduct outweighs any costs associated with defending and resolving lawsuits

brought by its competitors, including Gallagher, and the financial and competitive benefits to

Alliant are greater than what Alliant would receive through a formal acquisition or legitimate

competition. This strategy is overseen and implemented at the highest levels of Alliant, including

its Board of Directors, high-ranking executives, and its outside counsel. Alliant’s unlawful conduct

follows a pattern and it puts the lie to Alliant’s representation that it must be a coincidence that

employees of its competitors, including Gallagher, resign simultaneously, violate contractual

notice provisions, and show up at Alliant on the same day to immediately work with Alliant to

misuse confidential information to solicit and thereafter service their former employer’s clients.

          121.   Gallagher is not hypothesizing about Alliant’s “leveraged hire strategy.” Alliant’s

litigation history and the public record demonstrate that Alliant’s strategy is designed and

implemented with litigation in mind. As one of the Lockton employees solicited by Arkley

testified, Arkley told her that “there would be litigation involved” with Alliant’s raid, and that




                                                     36
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 37 of 43 PageID #:37




Alliant “would hope to try to outspend Lockton and hopefully force a settlement.” Alliant knows

that it is engaging in conduct that will lead to litigation, and that is exactly what has happened for

years. Moreover, Alliant understands that it will substantially profit from stealing employees and

clients, which it does without hesitation because the profit generated from its “leveraged hire

strategy” covers any litigation costs and allows Alliant to “outspend” its competitors.

       122.    The unsealed and unredacted Lockton documents confirm this strategy and

demonstrate that Alliant’s outside counsel plays a significant role. In connection with the raid of

Lockton, Alliant’s outside counsel told Arkley that “[i]f you could encourage the producers to

move this along with their lawyers so we can focus on helping them with potential litigation –

work we are doing for their benefit – I would appreciate it.” Two days later, Alliant’s outside

counsel emailed Arkley and Alliant’s CFO Reshma Dalia (“Dalia”), requesting that they “[p]lease

confirm we are telling the new hires to resign on Monday morning (March 11), as opposed to

Friday afternoon (March 8). If the resignations happen Friday, Lockton will have all weekend to

prepare litigation strategy before the new hires are able to bring in business…. Please confirm

one of you is going to call each of the new hires to tell them when to resign. Kinder’s attorney

informed me that Kinder was under the impression he would be resigning on Friday, and we don’t

want any of these folks resigning earlier than intended.” In response, Dalia stated that “[t]he

transition date is definitely 3/11. I will ask [Arkley] to remind them when he speaks with each of

them next. Also, one of us will be calling each of them prior to 3/11 to let them know what time

to arrive and our office address.”

       123.    The documents detailed above from Alliant’s outside counsel to Arkley and Dalia

establish that Alliant strategically identifies when it wants to raid a competitor, in part because it

does not want to afford its competitors time to prepare for litigation so Alliant has time to steal the




                                                      37
     Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 38 of 43 PageID #:38




business. Indeed, Alliant strikes at a strategic time to inflict as much damage as possible upon its

competitors.

        124.    Alliant and its outside counsel understand that this strategy is unlawful and, at least,

tortiously interferes with contracts. That is why Alliant’s counsel told Dalia that “we are no longer

instructing employees in writing to resign without notice because they may have notice provisions

– Alliant will instead instruct them verbally” and also advised Dalia to have Alliant “[b]lock the

new hires’ email account from being able to receive emails from their personal email accounts for

a limited time period after the hire date (during the time period in which new hires are contracting

their clients in an effort to obtain business; i.e., during the time period where at TRO/PI is most

likely).” Counsel was instructing Alliant to create a façade of protecting its competitors while

violating contracts and court orders.

        125.     Alliant focuses on inducing breaches of notice provisions in its competitor’s

employment agreements precisely because it understands that its conduct is likely to result in

injunctive relief.

        126.    The Lockton court found that “[it] is reasonably probable that a trier of fact would

find that Alliant induced the Producer Members to breach the notice requirement so that Lockton

would not have this opportunity and instead would face immediate competition from the Producer

Members. Alliant took other actions to limit Lockton’s ability to respond, such as by preparing

preemptive litigation and by coordinating the mass resignations for Tuesday, March 12[.]”

Lockton, 2019 WL 2536104, at *19 n.21.

        127.    Alliant understands that time is of the essence for its competitors to protect their

business, which is why it coordinates mass resignations and does everything in its power to

handcuff competitors. And, if litigation ensues, Alliant simply plans to “outspend” its competitors




                                                      38
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 39 of 43 PageID #:39




and hopefully force a settlement—using profits that it wrongfully obtained at the expense of those

exact competitors.

       128.    Enjoining Alliant before it can steal enough business to make its scheme profitable

is the only way to mitigate the unlawful conduct and prevent irreparable harm to Alliant’s

competitors. Gallagher will be irreparably harmed if the Court does not grant injunctive relief and

enjoin Alliant from further harming Gallagher.

                                     CLAIMS FOR RELIEF

                                            Count I
                             (Tortious Interference With Contract)

       129.    Gallagher incorporates by reference paragraphs 1-128 as though fully stated herein.

       130.    The Employment Agreements signed by the Resigning Employees are valid and

enforceable contracts between Gallagher and the Resigning Employees.

       131.    Alliant was aware of the contractual relation between Gallagher and Resigning

Employees and the restrictive covenants in the Employment Agreements.

       132.    Alliant intentionally and unjustifiably induced a breach of the Employment

Agreements by directing the Resigning Employees to stop serving Gallagher and commence

employment with Alliant prior to the expiration of 21 days after written notice of impending

resignation, in violation of the Notice Provision in the Employment Agreements.

       133.    Alliant also intentionally and unjustifiably interfered with and induced a breach of

the Employment Agreements by conspiring with Resigning Employees to solicit their Gallagher

colleagues to join Alliant, either directly or indirectly through another Alliant employee, and by

using other Alliant employees as intermediaries to solicit Gallagher clients, in violation of the Non-

Compete provisions of the Employment Agreements.




                                                     39
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 40 of 43 PageID #:40




       134.    Alliant intentionally and unjustifiably interfered with and induced a breach of the

Mobile Device Agreements, which were agreed to by the Resigning Employees and are valid and

enforceable contracts between Gallagher and the Resigning Employees.

       135.    Alliant was aware of the contractual relations between Gallagher and Resigning

Employees because of its prior litigation with Gallagher in which it learned that Gallagher

employees were required to sign the Mobile Device Agreements and because it was notified about

the Mobile Device Agreement through the July Correspondence.

       136.    Alliant intentionally and unjustifiably induced a breach of the Mobile Device

Agreements by instructing the Resigning Employees not to provide their mobile devices to

Gallagher upon receiving Gallagher’s demand and, on information and belief, by causing the

Resigning Employees to instead provide their personal electronic devices to a consultant for

purposes of engaging in Alliant’s sham “remediation program.”

       137.    The Resigning Employees did in fact breach the Employment Agreements and the

Mobile Device Agreements as a result of, and caused, by Alliant’s wrongful conduct.

       138.    Gallagher has suffered damages as a result of Alliant’s tortious interference with

Gallagher’s contracts.

                                         Count II
               (Tortious Interference With Prospective Economic Advantage)

       139.    Gallagher incorporates by reference paragraphs 1-128 as though fully stated herein.

       140.    Gallagher has and had protectable business relationships with the Resigning

Employees and the clients that Alliant solicited and/or attempted to solicit to leave Gallagher (the

“Prospective Business Relationships”).

       141.    Gallagher had a reasonable expectation that (1) its employees would continue their

employment with Gallagher and (2) its clients would continue utilizing Gallagher for its services,



                                                    40
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 41 of 43 PageID #:41




and thus had a reasonably expectancy of entering into and continuing valid business relationships

with them on an ongoing basis.

       142.    Alliant knew of the Prospective Business Relationships and Gallagher’s expectancy

of entering into and continuing valid business relationships with its employees and clients.

       143.    Gallagher would have had a greater prospective business advantage with the

Prospective Business Relationships, absent improper interference.

       144.    Alliant intentionally and unjustifiably interfered with the Prospective Business

Relationships—Gallagher’s prospective economic advantage—by inducing breaches of contract,

breaches of fiduciary duties, and also inducing Gallagher’s employees and clients to leave

Gallagher in favor of Alliant.

       145.    Gallagher has suffered damages as a result of Alliant’s tortious interference with

its Prospective Business Relationships and thus its prospective economic advantage.

                                         Count III
                       (Aiding and Abetting Breach of Fiduciary Duty)

       146.    Gallagher incorporates by reference paragraphs 1-128 as though fully stated herein.

       147.    The Resigning Employees were agents and employees of Gallagher, and thus owed

fiduciary duties to Gallagher, including the duty of loyalty.

       148.    Alliant was aware that the Resigning Employees owed Gallagher fiduciary duties

requiring the Resigning Employees, among other things, to devote their full energy, ability,

attention, and business time to Gallagher’s business and to refrain from engaging in any conduct

that conflicted with, interfered with, or in any way compromised Gallagher’s best interests.

       149.    The Resigning Employees breached their fiduciary duties to Gallagher by, among

other things, conspiring with Alliant to solicit their colleagues to join Alliant and to solicit

Gallagher’s clients to move their business to Alliant, both before and during the Notice Period.



                                                    41
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 42 of 43 PageID #:42




        150.    Alliant knowingly and substantially assisted and encouraged these breaches by

participating in the unlawful solicitation of Gallagher employees and clients, and, on information

and belief, by compensating the Resigning Employees based in part on a percentage of revenue

generated from Gallagher clients and indemnifying the Resigning Employees against claims by

Gallagher.

        151.    Alliant was aware of its role as part of the aiding and abetting the breaches of

fiduciary duty because it was aware of the fiduciary duties owed but nevertheless knew that if it

facilitated the breaches, such conduct would benefit Alliant.

        152.    Gallagher has suffered damages as a result of Alliant’s aiding and abetting the

Resigning Employees’ breaches of their fiduciary duties.

                                               Count IV
                                             (Conspiracy)

        153.    Gallagher incorporates by reference paragraphs 1-128 as though fully stated herein.

        154.    As described more fully above, Alliant, acting in concert with the Resigning

Employees and other co-conspirators, known and unknown, reached an agreement among

themselves to unlawfully interfere with Gallagher’s business relations and contracts and for the

Resigning Employees to breach their contract obligations and fiduciary duties owed to Gallagher.

        155.    Alliant, the Resigning Employees, and other co-conspirators constitute a

combination of two or more persons, and they acted in concert for the purpose of harming

Gallagher’s business to Alliant’s benefit.

        156.    In furtherance of their conspiracy, each of these co-conspirators, including Alliant,

committed overt unlawful and tortious acts, including those described in this Complaint, and were

otherwise willful participants in joint activity.

        157.    Gallagher has suffered damages as a result of Alliant’s conspiratorial conduct.



                                                     42
    Case: 1:22-cv-03931 Document #: 1 Filed: 07/28/22 Page 43 of 43 PageID #:43




                                        PRAYER FOR RELIEF

       WHEREFORE, Arthur J. Gallagher & Co. respectfully requests that this Court enter

judgment in its favor and against Alliant Insurance Services, Inc. as follows:

               a.     Entry of preliminary and permanent injunctive relief;

               b.     Awarding damages, together with pre- and post-judgment interest;

               c.     Awarding punitive damages; and

               d.     Granting such other and further relief as this Court deems just and proper.

DATED:         July 28, 2022

                                                     Respectfully submitted,

                                                     /s/ Ronald S. Safer__________________
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                                                    43
